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                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                                May 16, 2024
                     FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                                         §           CHAPTER 11
                                               §
                                               §
7502 HARRISBURG LLC                            §           CASE NO. 24-31002
                                               §
         DEBTOR                                §


          SHOW CAUSE ORDER FOR ALBERT ORTIZ AND SANDRA CEPEDA

         CAME ON FOR CONSIDERATION, the Motion to Show Cause and for Sanctions as

to Albert Ortiz and Sandra Cepeda, Individually, filed by Texas Funding Corporation. It is:

         ORDERED that Albert Ortiz and Sandra Cepeda shall personally appear before

this Court on May 23, 2024 at 2:00 p.m. in order to show cause why they should not beheld

in contempt and why sanctions shall not be issued against them. Failure to appear as

ordered shall be considered contempt and this Court will issue a bench warrant directing

the United States Marshall Service to take them into custody; and it is further

         ORDERED that counsel to the Debtor must appear at the hearing in person too.




           August
           May     02, 2019
               16, 2024
